
















In The


Court of Appeals


Sixth Appellate District of Texas at Texarkana



______________________________



No. 06-08-00203-CR


______________________________




LAKISHA YVETT WALLACE, Appellant



V.



THE STATE OF TEXAS, Appellee




                                              


On Appeal from the 124th Judicial District Court


 Gregg County, Texas


Trial Court No. 36,383-B




                                                 




Before Morriss, C.J., Carter and Moseley, JJ.


Memorandum Opinion by Chief Justice Morriss



MEMORANDUM OPINION



	Lakisha Yvett Wallace, appellant, has filed with this Court a motion to dismiss her appeal. 
The motion is signed by Wallace and by her counsel in compliance with Rule 42.2(a) of the Texas
Rules of Appellate Procedure.  See Tex. R. App. P.  42.2(a).  As authorized by Rule 42.2, we grant
the motion.  See Tex. R. App. P. 42.2.

	Accordingly, we dismiss the appeal.



						Josh R. Morriss, III

						Chief Justice


Date Submitted:	November 17, 2008

Date Decided:		November 18, 2008


Do Not Publish






leading guilty, the jury assessed his punishment at two years'
imprisonment in a state jail facility and a $2,000.00 fine.  Ruiz presently has five other convictions
currently on appeal before this Court. (2)

	On appeal, Ruiz contends that his appointed counsel's failure to object when the State
explained parole law, mentioned plea bargaining, and allegedly interjected new evidence during
closing arguments in the punishment phase amounted to ineffective assistance of counsel.

	We addressed this issue in detail in our opinion of this date on Ruiz's appeal in cause number
06-08-00136-CR.  For the reasons stated therein, we likewise conclude that ineffective assistance
of counsel has not been shown.

	We affirm the judgment. 



						Josh R. Morriss, III

						Chief Justice


Date Submitted:	January 5, 2009

Date Decided:		January 8, 2009


Do Not Publish

1. The conviction having been in Dallas County, this case was originally appealed to the Fifth
Court of Appeals and was then transferred to this Court by the Texas Supreme Court pursuant to its
docket equalization efforts.  See Tex. Gov't Code Ann. §&nbsp;73.001 (Vernon 2005).  We are unaware
of any conflict between precedent of the Fifth Court of Appeals and that of this Court on any relevant
issue.  See Tex. R. App. P. 41.3.
2. Ruiz appeals from six convictions.  In cause number 06-08-00136-CR, he appeals a
conviction for possession of methamphetamine in an amount between four and 200 grams, with
intent to deliver, for which he received twenty years' and four months' imprisonment.  In cause
numbers 06-08-00137-CR, 06-08-00138-CR, and 06-08-00139-CR, he appeals convictions for
possession of marihuana in an amount between four ounces and five pounds, possession of less than
one gram of cocaine, and evading arrest, respectively.  In these three cases, Ruiz was sentenced to
two years' confinement in a state jail facility, to run concurrently.  Finally, Ruiz also appeals his
conviction in cause number 06-08-00140-CR of possession of methamphetamine in an amount
between one and four grams.  Ruiz was sentenced in this case to five years' imprisonment, to run
concurrently.

